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                       United States Court of Appeals
                                   FIFTH CIRCUIT
                                OFFICE OF THE CLERK
LYLE W. CAYCE                                                          TEL. 504-310-7700
CLERK                                                               600 S. MAESTRI PLACE
                                                                   NEW ORLEANS, LA 70130



                                 May 04, 2017
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
       No. 15-10932       Santiago Pineda, et al v. JTCH Apartments,
                          L.L.C., et al
                          USDC No. 3:13-CV-588

Enclosed is an order entered in this case.


                                    Sincerely,
                                    LYLE W. CAYCE, Clerk

                                    By: _________________________
                                    Cindy M. Broadhead, Deputy Clerk
                                    504-310-7707
Ms.   Nadine Rowena King-Mays
Mr.   Robert Lee Manteuffel
Ms.   Karen S. Mitchell
Mr.   Jamie Harrison Zidell
     Case: 15-10932    Document: 00513980190     Page: 1   Date Filed: 05/04/2017

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          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT

                              ___________________

                                 No. 15-10932
                              ___________________

SANTIAGO PINEDA, and all others similarly situated under 29 U.S.C.
216(B); MARIA PENA,

            Plaintiffs - Appellants Cross-Appellees

v.

JTCH APARTMENTS, L.L.C.; SIMONA VIZIREANU,

            Defendants - Appellees Cross-Appellants

                            _______________________

            Appeals from the United States District Court for the
                     Northern District of Texas, Dallas
                          _______________________

Before JONES, BARKSDALE, and COSTA, Circuit Judges.

PER CURIAM:

      IT IS ORDERED that the opposed motion of appellant cross-appellee
Santiago Pineda for the award of attorney fees is DENIED. With the remand
of this case to the district court, attorney fees should be decided by that court.


      IT IS FURTHER ORDERED that the opposed motion of appellant
cross-appellee Santiago Pineda to remand case to the district court for
determination of the amount of attorney fees is GRANTED.
